    Case 19-10350-JDW        Doc 98 Filed 08/29/19 Entered 08/29/19 15:16:06                  Desc BK
                             Hearing Date/Time/Location Page 1 of 1
                                                                                              CM/ECF hrg4
                                                                                             (Rev. 08/02/16)

                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF MISSISSIPPI

In Re: Wesley L Bailey                              )                 Case No.: 19−10350−JDW
       Debtor(s)                                    )                 Chapter: 13
                                                    )                 Judge: Jason D. Woodard
                                                    )
                                                    )


      PLEASE TAKE NOTICE that an evidentiary hearing will be held at:
             Oxford Federal Building, 911 Jackson Avenue, Oxford, MS 38655
             on 10/29/19 at 01:30 PM
             to consider and act upon the following:
             97 − Objection to Confirmation of Chapter 13 Plan (Second Amended Plan Dkt.
             #95) Filed by Locke D. Barkley on behalf of Locke D. Barkley (Barkley, Locke)

Please note that a corporation, partnership, trust, or other business entity, other than a sole
proprietorship, may appear and act in Bankruptcy Court only through a licensed attorney.
Dated: 8/29/19
                                                        Shallanda J. Clay
                                                        Clerk, U.S. Bankruptcy Court
                                                        BY: EL
                                                            Deputy Clerk
